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     24-50346-grs Claim
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Case
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     24-50346-grs Claim
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                  Exhibit B_Proof of Claim 27 Page 4 of 9
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     24-50346-grs Claim
                  Doc 106-2
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     24-50346-grs Claim
                  Doc 106-2
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     24-50346-grs Claim
                  Doc 106-2
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     24-50346-grs Claim
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